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                      UNITED STATES DISTRICT COURT

                          DISTRICT OF CONNECTICUT


MacARTHUR WILLIAMS                        :

VS.                                       :      CIVIL ACTION NO.

CITY OF NEW HAVEN                         :      JULY 26, 2010


                                COMPLAINT


       1. This is an action to redress the deprivation of rights secured to the

plaintiff by the Constitution and laws of the United States and the State of

Connecticut.

       2. Jurisdiction of this court is invoked under the provisions of Sections

1331, 1343(3) and 1367(a) of Title 28 and Sections 1983 and 1988 of Title 42 of

the United States Code.

       3. The plaintiff is an adult citizen of the United States who resides in

Hartford, Connecticut.

       4. The defendant is a municipal corporation in the State of Connecticut

which at all times herein mentioned acted through its highest policy-setting

officials for the matters herein discussed.

       5. During all times mentioned in this Complaint, the defendant was acting



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under color of law, that is, under color of the constitution, statutes, laws, rules,

regulations, customs and usages of the State of Connecticut.

       6. On or about September 29, 2003, the Connecticut Superior Court

issued a misdemeanor arrest warrant for the plaintiff, charging him with failure to

appear in the second degree in violation of Section 53a-173 of the Connecticut

General Statutes.

       7. The said warrant was lodged with the defendant’s police department.

       8. Because the statute of limitations for prosecution of a misdemeanor

such as violation of Section 53a-173 of the Connecticut General Statutes, the

said warrant became invalid if not served within one year.

       9. On May 6, 2008, the plaintiff was stopped for a traffic violation in

Windsor, Connecticut.

       10. Because the defendant had not removed the warrant from its system

after it became invalid, its existence showed up when the officer who had

stopped the plaintiff for a traffic violation checked his name online.

       11. Because the defendant had not removed the warrant from its system

after it became invalid, the officer who had stopped the plaintiff was required to

detain him and notify the defendant of that fact. He did so.

       12. Because the defendant had no system in place for recognizing and

addressing the problem of stale warrants no longer valid because of their age,


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the defendant’s police officers took custody of the plaintiff and placed him in a

New Haven Police lockup. They held him prisoner there all night and the

following day transported him in custody to the Superior Court at New Haven,

where he was released from custody when court officials recognized that he had

been detained unlawfully.

       13. The fact that arrest warrants not timely served become invalid due to

age is a fact of law enforcement of which every governmental entity involved with

criminal justice is aware.

       14. The defendant had no system in place to address the problem of

stale warrants and its failure to do so constituted deliberate indifference to a

known and frequently-occurring problem in law enforcement.

       15. The plaintiff’s arrest and incarceration were proximately caused solely

by the aforesaid deliberate indifference of the defendant.

       16. In the manner described above, the defendant deprived the plaintiff of

his liberty without due process of law, in violation of the Fourth and Fourteenth

Amendments to the United States Constitution as enforced through Sections

1983 and 1988 of Title 42 of the United States Code.

       WHEREFORE, the plaintiff claims judgment against the defendant for

compensatory damages, attorney fees and costs.




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                           THE PLAINTIFF



                           BY:            /s/
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